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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI


 ANAND EDKE, Individually and On Behalf            Case No.: 4:21-cv-955-MTS
 of All Others Similarly Situated
                                                   Judge: Hon. Matthew T. Schelp
                Plaintiff,

 v.

 BELDEN, INC.

                Defendant.


               JOINT MOTION AND MEMORANDUM TO STAY ACTION

       Pursuant to the agreement of the parties, Plaintiff Anand Edke and Defendant Belden, Inc.

hereby respectfully move, pursuant to Local Rule 4.01, to stay all deadlines in this Action until

the Related Action, Mackey v. Belden, Inc., Case No. 4:21-cv-149, currently pending before the

Honorable John A. Ross, is fully and finally resolved. In support of their motion, the Parties state

as follows:

       1.      This action was commenced in the Circuit Court of Cook County, Illinois, on

January 7, 2021 as Case No. 2021-CH-000047;

       2.      On February 4, 2021, the Related Mackey Action was filed in the United States

District Court for the Eastern District of Missouri;

       3.      On February 12, 2021, Defendant removed this Action to the United States District

Court for the Northern District of Illinois and it was assigned to the Honorable Joan Gottschall;

       4.      Following extensive jurisdictional briefing, Judge Gottschall ordered this action

transferred to the Eastern District of Missouri on July 16, 2021 (see ECF No. 33). This action

was placed on the docket of the Honorable Patricia Cohen (see Case Opening Notification at ECF
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No. 34);

       5.      Shortly following the effectuation of the transfer, Judge Ross ruled on the motion

to dismiss in the Mackey Action, partially granting and partially denying the motion (see Mackey,

ECF No. 22);

       6.      Following transfer of this Action to the Eastern District of Missouri, Judge Cohen

ordered the parties to submit supplemental briefing regarding subject matter jurisdiction (see ECF

No. 43);

       7.      On August 23, 2021, this Action was transferred to the docket of the Honorable

Matthew Schelp (see ECF No. 47), who adopted Judge Cohen’s order requesting supplemental

briefing and added another issue for the parties to address regarding the Court’s subject matter

jurisdiction (see ECF No. 49);

       8.      In the time since the ruling on defendant’s motion to dismiss in the Mackey Action,

the parties in the Mackey Action have negotiated a stipulated ESI protocol and a stipulated

protective order and engaged in case management proceedings;

       9.      In the interests of economy and conserving judicial resources, the Parties hereby

respectfully request that this Action be stayed until such time as the Mackey Action is fully

resolved;

       For the foregoing reasons, the Parties respectfully request that this Court enter an order

staying all deadlines until the Mackey Action is fully resolved.


Respectfully submitted this 16th of September 2021.

 WOLF HALDENSTEIN ADLER                            ALSTON & BIRD LLP
 FREEMAN & HERZ LLC

 By: /s/ Carl V. Malmstrom                         By: /s/ Gavin Reinke
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 16, 2021, I caused the foregoing document to be filed

via This Court’s CM/ECF system, which will serve this document to all parties of record.



                                                          /s/ Carl V. Malmstrom
                                                          Carl V. Malmstrom
